             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:00-cr-00009-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )             ORDER
                                )
JOHN ALBERT WILKERSON, JR.,     )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Petition [Doc. 891].

     For the reasons stated in the Government’s Motion, and for cause

shown, IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

891] is GRANTED, and the Petition for Revocation of Supervised Release

[Doc. 883] and the Addendum thereto [Doc. 885] are DISMISSED WITHOUT

PREJUDICE.

     IT IS FURTHER ORDERED that the Defendant shall be RELEASED

on the same terms and conditions of supervised release as previously

imposed.




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     The Clerk of Court is respectfully directed to provide a copy of this

Order to counsel for the Defendant, counsel for the Government, the United

States Probation Office, and the United States Marshals Service.

     IT IS SO ORDERED.
                               Signed: May 5, 2017




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